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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

GRAYSON-BEY,                      Case No. 19-cv-13588-NGE-DRG
                                  Hon. Nancy G. Edmunds
      Plaintiff,                  Mag. Judge David R. Grand
v.

SOUTHFIELD POLICE DEPARTMENT,
OFFICER MICHAEL WOJCIECHOWSKI,
OFFICER DAVID MOORE, and OFFICER
SWADE FOX,

      Defendants.

GRAYSON-BEY                       SEWARD HENDERSON PLLC
Plaintiff, Pro Se                 By: T. Joseph Seward (P35095)
18992 Westbrook                         David D. Burress (P77525)
Detroit, MI 48219                 Attorneys for Defendants
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                                     dburress@sewardhenderson.com


                         DEFENDANTS’ WITNESS LIST

      NOW COMES Defendants, SOUTHFIELD POLICE DEPARTMENT,

OFFICER MICHAEL WOJCIECHOWSKI, OFFICER DAVID MOORE, and OFFICER

SWADE FOX, by and through the undersigned counsel, submit the following

as their Witness List:
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  1. Javaar Tyrone Grayson
     17690 Annchester Rd.
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     (P): (313) 404-6873

  2. Swade Fox, City of Southfield Police Officer
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  3. David Moore, City of Southfield Police Officer
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  4. Michael Wojciechowski, City of Southfield Police Officer
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  5. Assiyah Fateen
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Defendants reserve the right to amend this list as discovery progresses.
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                                  Respectfully submitted,

                                  SEWARD HENDERSON PLLC

                                  /s/ David D. Burress (P77525)
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Dated: June 10, 2020


                        CERTIFICATE OF SERVICE

        I herby certify that I served the foregoing, and this
        Certificate of Service by using the Court’s E-filing system
        that will send notification to Plaintiff, Grayson-Bey, Pro
        se, and via U.S. First Class Mail to Plaintiff at 18992
        Westbrook, Detroit, MI 48219, on June 10, 2020.

                                  /s/ David D. Burress (P77525)
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